AO 442 (Rey, 11/11) Arrest Warrant

UNITED STATES DisTRICT COURT

for the
District of Columbia
United States of America
v.
) 4:5 65
HalR Case: 1:24-mj-002
ay Huddleston Assigned to: Judge Upadhyaya, Moxila A
Assign Date: 8/21/2024 VARRANT
Description: COMPLAINT W/ ARREST WAR
ina
ARREST WARRANT
To: Any authorized law enforcement officer
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Hal Ray Huddleston
who is accused of an offense or violation based on the following document filed with the court:
O Indictment 1 Superseding Indictment ©] Information © Superseding Information [J Complaint
1 Probation Violation Petition @ Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;

18 U.S.C. § 1752(a)(1) - Entering or Remaining in a Restricted Building or Grounds;

18 USC. § 1752(a)Q@) - Disorderly or Disruptive Conduct in a Restricted Building or Grounds;

40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disruptive Conduct in the Capitol Buildings and Grounds;
40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.

[A yy

Issuing officer’s signature

Date: _ 08/21/2024 _

City and state: ____ Washington, 1).C. Moxila A. Upadhyaya, U.S. Magistrate Jy

Printed name and title

dge

Return

This warrant was received on (date) 9%, 2% -2¢7e% , and the aa ——___

at (city and state) \ANS WE SS, ON.

Date: PSD PHA ws, pea ee

Arresting officer's Signature

arrested on (date) acts
—- £h, 2K
2s

